Case 20-10955-amc   Doc   Filed 03/19/25 Entered 03/19/25 12:42:11   Desc Main
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Case 20-10955-amc   Doc   Filed 03/19/25 Entered 03/19/25 12:42:11   Desc Main
                          Document      Page 2 of 10
Case 20-10955-amc   Doc   Filed 03/19/25 Entered 03/19/25 12:42:11   Desc Main
                          Document      Page 3 of 10




                                              19




                                             Long-Giang Nguyen

                                             petnguyen@raslg.com
LOAN NUMBER                                               Last Name                                                         Case Number                                       BK Filed Date
                                                                        DM HART                                                              20-10955                                           2/17/2020
                                                                                                                                                                          1st Post Due date    3/1/2020        $924.82
                                                          POC arrears                              $2,048.49    Paid                                                                           4/1/2021        $931.65
                                                                                                                                                                                               3/1/2022      $    994.77
                                                                                                                                                                                               2/1/2023      $ 1,055.53
                                                                                                                                                                                               1/1/2024      $    982.11
                                                                                                                                                                                              12/1/2024      $ 1,070.00
                                                                                                                                                                                                                             Date
                                                                                                                                                                                                             Date Applied
 Transaction     Amount      Credit to   Debit from        Suspense                                                                                                           PP Payment          Trustee                  Applied to
                                                                                                                                                                                                                                                    Case 20-10955-amc




                                                                                  Transaction Details          Debtor       PP Payment         Trustee   Debtor Balance                                        to Post-
    Date        Received    Suspense     Suspense          Balance                                                                                                             Balance            Balance                 Contractuall
                                                                                                                                                                                                               Petition
                                                                                                                                                                                                                               y
                                                      $            -                                                                                     $          -     $             -     $        -
   3/30/2020      $991.00      $991.00                $         991.00 to debtor suspense                        $991.00                                 $       991.00   $             -     $        -
                                                                                                                                                                                                                                                    Doc




                                                      $         991.00 1 pp payment                             ($924.82)         $924.82                $        66.18   $          924.82   $        -        3/1/2020
                                            $924.82   $          66.18 1 contractual payment                                     ($924.82)               $        66.18   $             -     $        -                     3/1/2020
   4/27/2020    $1,000.00    $1,000.00                $       1,066.18 to debtor suspense                      $1,000.00                                 $     1,066.18   $             -     $        -
                                                      $       1,066.18 1 pp payment                             ($924.82)         $924.82                $       141.36   $          924.82   $        -        4/1/2020
                                            $924.82   $         141.36 1 contractual payment                                     ($924.82)               $       141.36   $             -     $        -                     4/1/2020
    5/26/2020   $1,000.00    $1,000.00                $       1,141.36 to debtor suspense                      $1,000.00                                 $     1,141.36   $             -     $        -
                                                                                                                                                                                                                                Document




                                                      $       1,141.36 1 pp payment                             ($924.82)         $924.82                $       216.54   $          924.82   $        -        5/1/2020
                                            $924.82   $         216.54 1 contractual payment                                     ($924.82)               $       216.54   $             -     $        -                     5/1/2020
    6/22/2020   $1,000.00    $1,000.00                $       1,216.54 to debtor suspense                      $1,000.00                                 $     1,216.54   $             -     $        -
                                                      $       1,216.54 1 pp payment                             ($924.82)         $924.82                $       291.72   $          924.82   $        -        6/1/2020
                                            $924.82   $         291.72 1 contractual payment                                     ($924.82)               $       291.72   $             -     $        -                     6/1/2020
     7/9/2020   $1,000.00    $1,000.00                $       1,291.72 to debtor suspense                      $1,000.00                                 $     1,291.72   $             -     $        -
                                                      $       1,291.72 1 pp payment                             ($924.82)         $924.82                $       366.90   $          924.82   $        -        7/1/2020
                                            $924.82   $         366.90 1 contractual payment                                     ($924.82)               $       366.90   $             -     $        -                     7/1/2020
    8/17/2020   $1,000.00    $1,000.00                $       1,366.90 to debtor suspense                      $1,000.00                                 $     1,366.90   $             -     $        -
                                                                                                                                                                                                                                              Page 4 of 10




                                                      $       1,366.90 1 pp payment                             ($924.82)         $924.82                $       442.08   $          924.82   $        -        8/1/2020
                                            $924.82   $         442.08 1 contractual payment                                     ($924.82)               $       442.08   $             -     $        -                     8/1/2020
     9/2/2020   $1,000.00    $1,000.00                $       1,442.08 to debtor suspense                      $1,000.00                                 $     1,442.08   $             -     $        -
                                                      $       1,442.08 1 pp payment                             ($924.82)         $924.82                $       517.26   $          924.82   $        -        9/1/2020
                                            $924.82   $         517.26 1 contractual payment                                     ($924.82)               $       517.26   $             -     $        -                     9/1/2020
    10/9/2020   $1,000.00    $1,000.00                $       1,517.26 to debtor suspense                      $1,000.00                                 $     1,517.26   $             -     $        -
                                                      $       1,517.26 1 pp payment                             ($924.82)         $924.82                $       592.44   $          924.82   $        -       10/1/2020
                                            $924.82   $         592.44 1 contractual payment                                     ($924.82)               $       592.44   $             -     $        -                    10/1/2020
  10/29/2020       $81.44       $81.44                $         673.88 to trustee                                                               $81.44   $       592.44   $             -     $      81.44
                                                                                                                                                                                                                                Filed 03/19/25 Entered 03/19/25 12:42:11




  11/23/2020    $1,000.00    $1,000.00                $       1,673.88 to debtor suspense                      $1,000.00                                 $     1,592.44   $             -     $      81.44
                                                      $       1,673.88 1 pp payment                             ($924.82)         $924.82                $       667.62   $          924.82   $      81.44     11/1/2020
                                            $924.82   $         749.06 1 contractual payment                                     ($924.82)               $       667.62   $             -     $      81.44                  11/1/2020
  12/14/2020      $201.53      $201.53                $         950.59 to trustee                                                              $201.53   $       667.62   $             -     $     282.97
                                                                                                                                                                                                                                                    Desc Main
LOAN NUMBER                                                          Last Name                                                               Case Number                                        BK Filed Date
                                                                                   DM HART                                                                    20-10955                                             2/17/2020
                                                                                                                                                                                             1st Post Due date    3/1/2020         $924.82
                                                                     POC arrears                              $2,048.49        Paid                                                                               4/1/2021         $931.65
                                                                                                                                                                                                                  3/1/2022       $    994.77
                                                                                                                                                                                                                  2/1/2023       $ 1,055.53
                                                                                                                                                                                                                  1/1/2024       $    982.11
                                                                                                                                                                                                                 12/1/2024       $ 1,070.00
                                                                                                                                                                                                                                                 Date
                                                                                                                                                                                                                                 Date Applied
 Transaction       Amount         Credit to        Debit from         Suspense                                                                                                                  PP Payment           Trustee                   Applied to
                                                                                                                                                                                                                                                                        Case 20-10955-amc




                                                                                             Transaction Details              Debtor         PP Payment           Trustee   Debtor Balance                                         to Post-
    Date          Received       Suspense          Suspense           Balance                                                                                                                    Balance             Balance                  Contractuall
                                                                                                                                                                                                                                   Petition
                                                                                                                                                                                                                                                   y
  12/21/2020      $1,000.00       $1,000.00                      $       1,950.59 to debtor suspense                          $1,000.00                                     $     1,667.62 $              -      $      282.97
                                                                                                                                                                                                                                                                        Doc




                                                                 $       1,950.59 1 pp payment                                 ($924.82)           $924.82                  $       742.80 $           924.82    $      282.97     12/1/2020
                                                      $924.82    $       1,025.77 1 contractual payment                                           ($924.82)                 $       742.80 $              -      $      282.97                  12/1/2020
    1/6/2021        $201.52        $201.52                       $       1,227.29 to trustee                                                                      $201.52 $         742.80 $              -      $      484.49
    1/20/2021     $1,000.00       $1,000.00                      $       2,227.29 to debtor suspense                          $1,000.00                                     $     1,742.80 $              -      $      484.49
                                                                 $       2,227.29 1 pp payment                                 ($924.82)           $924.82                  $       817.98 $           924.82    $      484.49      1/1/2021
                                                      $924.82    $       1,302.47 1 contractual payment                                           ($924.82)                 $       817.98 $              -      $      484.49                   1/1/2021
    2/3/2021        $201.52         $201.52                      $       1,503.99 to trustee                                                                      $201.52 $         817.98 $              -      $      686.01
                                                                                                                                                                                                                                                    Document




    2/12/2021       $106.84         $106.84                      $       1,610.83 to debtor suspense                            $106.84                                     $       924.82 $              -      $      686.01
                                                                 $       1,610.83 1 pp payment                                 ($924.82)           $924.82                  $        (0.00) $          924.82    $      686.01      2/1/2021
                                                      $924.82    $         686.01 1 contractual payment                                           ($924.82)                 $        (0.00) $             -      $      686.01                   2/1/2021
     3/1/2021       $201.52         $201.52                      $         887.53 to trustee                                                                      $201.52 $          (0.00) $             -      $      887.53
    3/25/2021       $924.82         $924.82                      $       1,812.35 to debtor suspense                            $924.82                                     $       924.82 $              -      $      887.53
                                                                 $       1,812.35 1 pp payment                                 ($924.82)           $924.82                  $        (0.00) $          924.82    $      887.53      3/1/2021
                                                      $924.82    $         887.53 1 contractual payment                                           ($924.82)                 $        (0.00) $             -      $      887.53                   3/1/2021
   3/26/2021        $201.52         $201.52                      $       1,089.05 to trustee                                                                      $201.52 $          (0.00) $             -      $    1,089.05
    4/27/2021 $       931.65 $        931.65                     $       2,020.70 to debtor suspense                      $      931.65                                     $       931.65 $              -      $    1,089.05
                                                                                                                                                                                                                                                                  Page 5 of 10




                                                                 $       2,020.70 1 pp payment                            $     (931.65) $          931.65                  $        (0.00) $          931.65    $    1,089.05      4/1/2021
                                               $        931.65   $       1,089.05 1 contractual payment                                  $         (931.65)                 $        (0.00) $             -      $    1,089.05                   4/1/2021
    4/29/2021 $       201.53 $        201.53                     $       1,290.58 to trustee                                                                  $     201.53 $         (0.00) $             -      $    1,290.58
                                               $        931.65   $         358.93 1 pp and 1 cont merged                                                      $    (931.65) $        (0.00) $             -      $      358.93      5/1/2021     5/1/2021
    5/28/2021       $195.02         $195.02                      $         553.95 to trustee                                                                      $195.02 $          (0.00) $             -      $      553.95
    5/28/2021 $       931.65 $        931.65                     $       1,485.60 to debtor suspense                      $      931.65                                     $       931.65 $              -      $      553.95
                                                                 $       1,485.60 1 pp payment                            $     (931.65) $          931.65                  $        (0.00) $          931.65    $      553.95      6/1/2021
                                               $        931.65   $         553.95 1 contractual payment                                  $         (931.65)                 $        (0.00) $             -      $      553.95                   6/1/2021
    6/30/2021 $       931.65 $        931.65                     $       1,485.60 to debtor suspense                      $      931.65                                     $       931.65 $              -      $      553.95
                                                                 $       1,485.60 1 pp payment                            $     (931.65) $          931.65                  $        (0.00) $          931.65    $      553.95      7/1/2021
                                                                                                                                                                                                                                                    Filed 03/19/25 Entered 03/19/25 12:42:11




                                               $        931.65   $         553.95 1 contractual payment                                  $         (931.65)                 $        (0.00) $             -      $      553.95                   7/1/2021
     7/2/2021 $       195.02 $        195.02                     $         748.97 to trustee                                                                  $     195.02 $         (0.00) $             -      $      748.97
    7/28/2021 $       195.02 $        195.02                     $         943.99 to trustee                                                                  $     195.02 $         (0.00) $             -      $      943.99
    8/12/2021 $       931.65 $        931.65                     $       1,875.64 to debtor suspense                      $      931.65                                     $       931.65 $              -      $      943.99
                                                                 $       1,875.64 1 pp payment                            $     (931.65) $          931.65                  $        (0.00) $          931.65    $      943.99      8/1/2021
                                                                                                                                                                                                                                                                        Desc Main
LOAN NUMBER                                                        Last Name                                                                Case Number                                        BK Filed Date
                                                                                  DM HART                                                                    20-10955                                             2/17/2020
                                                                                                                                                                                            1st Post Due date    3/1/2020        $924.82
                                                                   POC arrears                               $2,048.49        Paid                                                                               4/1/2021        $931.65
                                                                                                                                                                                                                 3/1/2022      $    994.77
                                                                                                                                                                                                                 2/1/2023      $ 1,055.53
                                                                                                                                                                                                                 1/1/2024      $    982.11
                                                                                                                                                                                                                12/1/2024      $ 1,070.00
                                                                                                                                                                                                                                               Date
                                                                                                                                                                                                                              Date Applied
 Transaction       Amount         Credit to        Debit from       Suspense                                                                                                                   PP Payment           Trustee                 Applied to
                                                                                                                                                                                                                                                                      Case 20-10955-amc




                                                                                            Transaction Details              Debtor         PP Payment           Trustee   Debtor Balance                                       to Post-
    Date          Received       Suspense          Suspense         Balance                                                                                                                     Balance             Balance                Contractuall
                                                                                                                                                                                                                                Petition
                                                                                                                                                                                                                                                y
                                               $        931.65 $         943.99   1 contractual payment                                 $         (931.65)                 $        (0.00) $             -      $      943.99                 8/1/2021
                                                                                                                                                                                                                                                                      Doc




    8/24/2021       $172.85         $172.85                    $       1,116.84   to trustee                                                                     $172.85 $          (0.00) $             -      $    1,116.84
    9/27/2021 $       935.00 $        935.00                   $       2,051.84   to debtor suspense                     $      935.00                                     $       935.00 $              -      $    1,116.84
                                                               $       2,051.84   1 pp payment                           $     (931.65) $          931.65                  $         3.35 $           931.65    $    1,116.84    9/1/2021
                                               $        931.65 $       1,120.19   1 contractual payment                                 $         (931.65)                 $         3.35 $              -      $    1,116.84                 9/1/2021
  10/26/2021 $        932.00 $        932.00                   $       2,052.19   to debtor suspense                     $      932.00                                     $       935.35 $              -      $    1,116.84
                                                               $       2,052.19   1 pp payment                           $     (931.65) $          931.65                  $         3.70 $           931.65    $    1,116.84   10/1/2021
                                               $        931.65 $       1,120.54   1 contractual payment                                 $         (931.65)                 $         3.70 $              -      $    1,116.84                10/1/2021
  11/22/2021 $        932.00 $        932.00                   $       2,052.54   to debtor suspense                     $      932.00                                     $       935.70 $              -      $    1,116.84
                                                                                                                                                                                                                                                  Document




                                                               $       2,052.54   1 pp payment                           $     (931.65) $          931.65                  $         4.05 $           931.65    $    1,116.84   11/1/2021
                                               $        931.65 $       1,120.89   1 contractual payment                                 $         (931.65)                 $         4.05 $              -      $    1,116.84                11/1/2021
  12/29/2021 $        931.65 $        931.65                   $       2,052.54   to debtor suspense                     $      931.65                                     $       935.70 $              -      $    1,116.84
                                                               $       2,052.54   1 pp payment                           $     (931.65) $          931.65                  $         4.05 $           931.65    $    1,116.84   12/1/2021
                                               $        931.65 $       1,120.89   1 contractual payment                                 $         (931.65)                 $         4.05 $              -      $    1,116.84                12/1/2021
    1/26/2022 $       931.65 $        931.65                   $       2,052.54   to debtor suspense                     $      931.65                                     $       935.70 $              -      $    1,116.84
                                                               $       2,052.54   1 pp payment                           $     (931.65) $          931.65                  $         4.05 $           931.65    $    1,116.84    1/1/2022
                                               $        931.65 $       1,120.89   1 contractual payment                                 $         (931.65)                 $         4.05 $              -      $    1,116.84                 1/1/2022
                                               $        931.65 $         189.24   1 pp and 1 cont merged                                                     $    (931.65) $         4.05 $              -      $      185.19    2/1/2022     2/1/2022
                                                                                                                                                                                                                                                                Page 6 of 10




    2/28/2022       $931.65         $931.65                    $       1,120.89   to debtor suspense                          $931.65                                      $       935.70 $              -      $      185.19
    3/29/2022 $     1,000.00 $      1,000.00                   $       2,120.89   to debtor suspense                     $    1,000.00                                     $     1,935.70 $              -      $      185.19
                                                               $       2,120.89   1 pp payment                           $     (994.77) $          994.77                  $       940.93 $           994.77    $      185.19    3/1/2022
                                               $        994.77 $       1,126.12   1 contractual payment                                 $         (994.77)                 $       940.93 $              -      $      185.19                 3/1/2022
    4/26/2022 $     1,000.00 $      1,000.00                   $       2,126.12   to debtor suspense                     $    1,000.00                                     $     1,940.93 $              -      $      185.19
                                                               $       2,126.12   1 pp payment                           $     (994.77) $          994.77                  $       946.16 $           994.77    $      185.19    4/1/2022
                                               $        994.77 $       1,131.35   1 contractual payment                                 $         (994.77)                 $       946.16 $              -      $      185.19                 4/1/2022
    5/23/2022 $     1,000.00 $      1,000.00                   $       2,131.35   to debtor suspense                     $    1,000.00                                     $     1,946.16 $              -      $      185.19
                                                               $       2,131.35   1 pp payment                           $     (994.77) $          994.77                  $       951.39 $           994.77    $      185.19    5/1/2022
                                                                                                                                                                                                                                                  Filed 03/19/25 Entered 03/19/25 12:42:11




                                               $        994.77 $       1,136.58   1 contractual payment                                 $         (994.77)                 $       951.39 $              -      $      185.19                 5/1/2022
    6/26/2022 $       994.77 $        994.77                   $       2,131.35   to debtor suspense                     $      994.77                                     $     1,946.16 $              -      $      185.19
                                                               $       2,131.35   1 pp payment                           $     (994.77) $          994.77                  $       951.39 $           994.77    $      185.19    6/1/2022
                                               $        994.77 $       1,136.58   1 contractual payment                                 $         (994.77)                 $       951.39 $              -      $      185.19                 6/1/2022
    7/28/2022 $       994.77 $        994.77                   $       2,131.35   to debtor suspense                     $      994.77                                     $     1,946.16 $              -      $      185.19
                                                                                                                                                                                                                                                                      Desc Main
LOAN NUMBER                                                        Last Name                                                                Case Number                                        BK Filed Date
                                                                                 DM HART                                                                      20-10955                                            2/17/2020
                                                                                                                                                                                           1st Post Due date     3/1/2020       $924.82
                                                                   POC arrears                              $2,048.49        Paid                                                                                4/1/2021       $931.65
                                                                                                                                                                                                                 3/1/2022     $    994.77
                                                                                                                                                                                                                 2/1/2023     $ 1,055.53
                                                                                                                                                                                                                 1/1/2024     $    982.11
                                                                                                                                                                                                                12/1/2024     $ 1,070.00
                                                                                                                                                                                                                                              Date
                                                                                                                                                                                                                             Date Applied
 Transaction       Amount         Credit to        Debit from       Suspense                                                                                                                   PP Payment           Trustee                Applied to
                                                                                                                                                                                                                                                                     Case 20-10955-amc




                                                                                           Transaction Details              Debtor          PP Payment          Trustee   Debtor Balance                                       to Post-
    Date          Received       Suspense          Suspense         Balance                                                                                                                     Balance             Balance               Contractuall
                                                                                                                                                                                                                               Petition
                                                                                                                                                                                                                                               y
                                                               $       2,131.35 1 pp payment                            $      (994.77) $          994.77                 $       951.39   $           994.77   $     185.19    7/1/2022
                                                                                                                                                                                                                                                                     Doc




                                               $        994.77 $       1,136.58 1 contractual payment                                   $         (994.77)                $       951.39   $              -     $     185.19                 7/1/2022
    8/29/2022 $     1,000.00 $      1,000.00                   $       2,136.58 to debtor suspense                      $     1,000.00                                    $     1,951.39   $              -     $     185.19
                                                               $       2,136.58 1 pp payment                            $      (994.77) $          994.77                 $       956.62   $           994.77   $     185.19    8/1/2022
                                               $        994.77 $       1,141.81 1 contractual payment                                   $         (994.77)                $       956.62   $              -     $     185.19                 8/1/2022
    9/26/2022 $     1,000.00 $      1,000.00                   $       2,141.81 to debtor suspense                      $     1,000.00                                    $     1,956.62   $              -     $     185.19
                                                               $       2,141.81 1 pp payment                            $      (994.77) $          994.77                 $       961.85   $           994.77   $     185.19    9/1/2022
                                               $        994.77 $       1,147.04 1 contractual payment                                   $         (994.77)                $       961.85   $              -     $     185.19                 9/1/2022
                                                                                                                                                                                                                                                 Document




  10/25/2022 $      1,000.00 $      1,000.00                   $       2,147.04 to debtor suspense                      $     1,000.00                                    $     1,961.85   $              -     $     185.19
                                                               $       2,147.04 1 pp payment                            $      (994.77) $          994.77                 $       967.08   $           994.77   $     185.19   10/1/2022
                                               $        994.77 $       1,152.27 1 contractual payment                                   $         (994.77)                $       967.08   $              -     $     185.19                10/1/2022
  11/30/2022 $        994.77 $        994.77                   $       2,147.04 to debtor suspense                      $       994.77                                    $     1,961.85   $              -     $     185.19
                                                               $       2,147.04 1 pp payment                            $      (994.77) $          994.77                 $       967.08   $           994.77   $     185.19   11/1/2022
                                               $        994.77 $       1,152.27 1 contractual payment                                   $         (994.77)                $       967.08   $              -     $     185.19                11/1/2022
     1/3/2023 $     1,000.00 $      1,000.00                   $       2,152.27 to debtor suspense                      $     1,000.00                                    $     1,967.08   $              -     $     185.19
                                                               $       2,152.27 1 pp payment                            $      (994.77) $          994.77                 $       972.31   $           994.77   $     185.19   12/1/2022
                                               $        994.77 $       1,157.50 1 contractual payment                                   $         (994.77)                $       972.31   $              -     $     185.19                12/1/2022
                                                                                                                                                                                                                                                               Page 7 of 10




    1/30/2023 $     1,000.00 $      1,000.00                   $       2,157.50 to debtor suspense                      $     1,000.00                                    $     1,972.31   $              -     $     185.19
                                                               $       2,157.50 1 pp payment                            $      (994.77) $          994.77                 $       977.54   $           994.77   $     185.19    1/1/2023
                                               $        994.77 $       1,162.73 1 contractual payment                                   $         (994.77)                $       977.54   $              -     $     185.19                 1/1/2023
    2/27/2023 $     1,060.00 $      1,060.00                   $       2,222.73 to debtor suspense                      $     1,060.00                                    $     2,037.54   $              -     $     185.19
                                                               $       2,222.73 1 pp payment                            $    (1,055.53) $         1,055.53                $       982.01   $         1,055.53   $     185.19    2/1/2023
                                               $      1,055.53 $       1,167.20 1 contractual payment                                   $        (1,055.53)               $       982.01   $              -     $     185.19                 2/1/2023
    3/30/2023 $     1,060.00 $      1,060.00                   $       2,227.20 to debtor suspense                      $     1,060.00                                    $     2,042.01   $              -     $     185.19
                                                               $       2,227.20 1 pp payment                            $    (1,055.53) $         1,055.53                $       986.48   $         1,055.53   $     185.19    3/1/2023
                                               $      1,055.53 $       1,171.67 1 contractual payment                                   $        (1,055.53)               $       986.48   $              -     $     185.19                 3/1/2023
                                                                                                                                                                                                                                                 Filed 03/19/25 Entered 03/19/25 12:42:11




    4/27/2023 $     1,055.53 $      1,055.53                   $       2,227.20 to debtor suspense                      $     1,055.53                                    $     2,042.01   $              -     $     185.19
                                                               $       2,227.20 1 pp payment                            $    (1,055.53) $         1,055.53                $       986.48   $         1,055.53   $     185.19    4/1/2023
                                               $      1,055.53 $       1,171.67 1 contractual payment                                   $        (1,055.53)               $       986.48   $              -     $     185.19                 4/1/2023
    5/31/2023 $     1,055.53 $      1,055.53                   $       2,227.20 to debtor suspense                      $     1,055.53                                    $     2,042.01   $              -     $     185.19
                                                               $       2,227.20 1 pp payment                            $    (1,055.53) $         1,055.53                $       986.48   $         1,055.53   $     185.19    5/1/2023
                                               $      1,055.53 $       1,171.67 1 contractual payment                                   $        (1,055.53)               $       986.48   $              -     $     185.19                 5/1/2023
                                                                                                                                                                                                                                                                     Desc Main
LOAN NUMBER                                                          Last Name                                                                Case Number                                        BK Filed Date
                                                                                   DM HART                                                                      20-10955                                            2/17/2020
                                                                                                                                                                                             1st Post Due date     3/1/2020        $924.82
                                                                     POC arrears                              $2,048.49        Paid                                                                                4/1/2021        $931.65
                                                                                                                                                                                                                   3/1/2022      $    994.77
                                                                                                                                                                                                                   2/1/2023      $ 1,055.53
                                                                                                                                                                                                                   1/1/2024      $    982.11
                                                                                                                                                                                                                  12/1/2024      $ 1,070.00
                                                                                                                                                                                                                                                 Date
                                                                                                                                                                                                                                 Date Applied
 Transaction       Amount         Credit to        Debit from         Suspense                                                                                                                   PP Payment           Trustee                  Applied to
                                                                                                                                                                                                                                                                        Case 20-10955-amc




                                                                                             Transaction Details              Debtor          PP Payment          Trustee   Debtor Balance                                         to Post-
    Date          Received       Suspense          Suspense           Balance                                                                                                                     Balance             Balance                 Contractuall
                                                                                                                                                                                                                                   Petition
                                                                                                                                                                                                                                                   y
    6/28/2023 $     1,055.53 $      1,055.53                     $       2,227.20 to debtor suspense                      $     1,055.53                                    $     2,042.01   $              -     $     185.19
                                                                 $       2,227.20 1 pp payment                            $    (1,055.53) $         1,055.53                $       986.48   $         1,055.53   $     185.19      6/1/2023
                                                                                                                                                                                                                                                                        Doc




                                               $      1,055.53   $       1,171.67 1 contractual payment                                   $        (1,055.53)               $       986.48   $              -     $     185.19                   6/1/2023
    7/31/2023 $     1,055.53 $      1,055.53                     $       2,227.20 to debtor suspense                      $     1,055.53                                    $     2,042.01   $              -     $     185.19
                                                                 $       2,227.20 1 pp payment                            $    (1,055.53) $         1,055.53                $       986.48   $         1,055.53   $     185.19      7/1/2023
                                               $      1,055.53   $       1,171.67 1 contractual payment                                   $        (1,055.53)               $       986.48   $              -     $     185.19                   7/1/2023
    8/30/2023 $     1,055.53 $      1,055.53                     $       2,227.20 to debtor suspense                      $     1,055.53                                    $     2,042.01   $              -     $     185.19
                                                                 $       2,227.20 1 pp payment                            $    (1,055.53) $         1,055.53                $       986.48   $         1,055.53   $     185.19      8/1/2023
                                               $      1,055.53   $       1,171.67 1 contractual payment                                   $        (1,055.53)               $       986.48   $              -     $     185.19                   8/1/2023
    9/27/2023 $     1,055.53 $      1,055.53                     $       2,227.20 to debtor suspense                      $     1,055.53                                    $     2,042.01   $              -     $     185.19
                                                                                                                                                                                                                                                    Document




                                                                 $       2,227.20 1 pp payment                            $    (1,055.53) $         1,055.53                $       986.48   $         1,055.53   $     185.19      9/1/2023
                                               $      1,055.53   $       1,171.67 1 contractual payment                                   $        (1,055.53)               $       986.48   $              -     $     185.19                   9/1/2023
    11/1/2023 $     1,055.53 $      1,055.53                     $       2,227.20 to debtor suspense                      $     1,055.53                                    $     2,042.01   $              -     $     185.19
                                                                 $       2,227.20 1 pp payment                            $    (1,055.53) $         1,055.53                $       986.48   $         1,055.53   $     185.19     10/1/2023
                                               $      1,055.53   $       1,171.67 1 contractual payment                                   $        (1,055.53)               $       986.48   $              -     $     185.19                  10/1/2023
    12/4/2023 $     1,060.00 $      1,060.00                     $       2,231.67 to debtor suspense                      $     1,060.00                                    $     2,046.48   $              -     $     185.19
                                                                 $       2,231.67 1 pp payment                            $    (1,055.53) $         1,055.53                $       990.95   $         1,055.53   $     185.19     11/1/2023
                                               $      1,055.53   $       1,176.14 1 contractual payment                                   $        (1,055.53)               $       990.95   $              -     $     185.19                  11/1/2023
  12/27/2023 $      1,055.53 $      1,055.53                     $       2,231.67 to debtor suspense                      $     1,055.53                                    $     2,046.48   $              -     $     185.19
                                                                 $       2,231.67 1 pp payment                            $    (1,055.53) $         1,055.53                $       990.95   $         1,055.53   $     185.19     12/1/2023
                                                                                                                                                                                                                                                                  Page 8 of 10




                                               $      1,055.53   $       1,176.14 1 contractual payment                                   $        (1,055.53)               $       990.95   $              -     $     185.19                  12/1/2023
                                                                 $       1,176.14 1 pp payment                            $      (982.11) $           982.11                $         8.84   $           982.11   $     185.19      1/1/2024
                                               $        982.11   $         194.03 1 contractual payment                                   $          (982.11)               $         8.84   $              -     $     185.19                   1/1/2024
    1/25/2024 $       982.11 $        982.11                     $       1,176.14 to debtor suspense                      $       982.11                                    $       990.95   $              -     $     185.19
                                                                 $       1,176.14 1 pp payment                            $      (982.11) $          982.11                 $         8.84   $           982.11   $     185.19      2/1/2024
                                               $        982.11   $         194.03 1 contractual payment                                   $         (982.11)                $         8.84   $              -     $     185.19                   2/1/2024
     3/7/2024 $       982.11 $        982.11                     $       1,176.14 to debtor suspense                      $       982.11                                    $       990.95   $              -     $     185.19
                                                                 $       1,176.14 1 pp payment                            $      (982.11) $          982.11                 $         8.84   $           982.11   $     185.19      3/1/2024
                                               $        982.11   $         194.03 1 contractual payment                                   $         (982.11)                $         8.84   $              -     $     185.19                   3/1/2024
    4/17/2024 $       982.11 $        982.11                     $       1,176.14 to debtor suspense                      $       982.11                                    $       990.95   $              -     $     185.19
                                                                                                                                                                                                                                                    Filed 03/19/25 Entered 03/19/25 12:42:11




                                                                 $       1,176.14 1 pp payment                            $      (982.11) $          982.11                 $         8.84   $           982.11   $     185.19      4/1/2024
                                               $        982.11   $         194.03 1 contractual payment                                   $         (982.11)                $         8.84   $              -     $     185.19                   4/1/2024
    5/29/2024 $       982.11 $        982.11                     $       1,176.14 to debtor suspense                      $       982.11                                    $       990.95   $              -     $     185.19
                                                                 $       1,176.14 1 pp payment                            $      (982.11) $          982.11                 $         8.84   $           982.11   $     185.19      5/1/2024
                                               $        982.11   $         194.03 1 contractual payment                                   $         (982.11)                $         8.84   $              -     $     185.19                   5/1/2024
    6/26/2024 $       982.11 $        982.11                     $       1,176.14 to debtor suspense                      $       982.11                                    $       990.95   $              -     $     185.19
                                                                                                                                                                                                                                                                        Desc Main
LOAN NUMBER                                                        Last Name                                                                 Case Number                                         BK Filed Date
                                                                                 DM HART                                                                       20-10955                                             2/17/2020
                                                                                                                                                                                              1st Post Due date    3/1/2020       $924.82
                                                                   POC arrears                               $2,048.49        Paid                                                                                 4/1/2021       $931.65
                                                                                                                                                                                                                   3/1/2022     $    994.77
                                                                                                                                                                                                                   2/1/2023     $ 1,055.53
                                                                                                                                                                                                                   1/1/2024     $    982.11
                                                                                                                                                                                                                  12/1/2024     $ 1,070.00
                                                                                                                                                                                                                                                Date
                                                                                                                                                                                                                               Date Applied
 Transaction       Amount         Credit to        Debit from       Suspense                                                                                                                     PP Payment           Trustee                Applied to
                                                                                                                                                                                                                                                                       Case 20-10955-amc




                                                                                           Transaction Details               Debtor          PP Payment            Trustee   Debtor Balance                                      to Post-
    Date          Received       Suspense          Suspense         Balance                                                                                                                       Balance             Balance               Contractuall
                                                                                                                                                                                                                                 Petition
                                                                                                                                                                                                                                                 y
                                                               $       1,176.14 1 pp payment                             $      (982.11) $          982.11                   $         8.84 $            982.11   $     185.19    6/1/2024
                                               $        982.11 $         194.03 1 contractual payment                                    $         (982.11)                  $         8.84 $               -     $     185.19                 6/1/2024
                                                                                                                                                                                                                                                                       Doc




     7/3/2024 $       982.11 $        982.11                   $       1,176.14 to debtor suspense                       $       982.11                                      $       990.95 $               -     $     185.19
                                                               $       1,176.14 1 pp payment                             $      (982.11) $          982.11                   $         8.84 $            982.11   $     185.19    7/1/2024
                                               $        982.11 $         194.03 1 contractual payment                                    $         (982.11)                  $         8.84 $               -     $     185.19                 7/1/2024
    8/21/2024 $       982.11 $        982.11                   $       1,176.14 to debtor suspense                       $       982.11                                      $       990.95 $               -     $     185.19
                                                               $       1,176.14 1 pp payment                             $      (982.11) $          982.11                   $         8.84 $            982.11   $     185.19    8/1/2024
                                               $        982.11 $         194.03 1 contractual payment                                    $         (982.11)                  $         8.84 $               -     $     185.19                 8/1/2024
    9/30/2024 $       982.11 $        982.11                   $       1,176.14 to debtor suspense                       $       982.11                                      $       990.95 $               -     $     185.19
                                                               $       1,176.14 1 pp payment                             $      (982.11) $          982.11                   $         8.84 $            982.11   $     185.19    9/1/2024
                                                                                                                                                                                                                                                   Document




                                               $        982.11 $         194.03 1 contractual payment                                    $         (982.11)                  $         8.84 $               -     $     185.19                 9/1/2024
  10/30/2024 $        982.11 $        982.11                   $       1,176.14 to debtor suspense                       $       982.11                                      $       990.95 $               -     $     185.19
                                                               $       1,176.14 1 pp payment                             $      (982.11) $          982.11                   $         8.84 $            982.11   $     185.19   10/1/2024
                                               $        982.11 $         194.03 1 contractual payment                                    $         (982.11)                  $         8.84 $               -     $     185.19                10/1/2024
  11/26/2024 $        982.11 $        982.11                   $       1,176.14 to debtor suspense                       $       982.11                                      $       990.95 $               -     $     185.19
                                                               $       1,176.14 1 pp payment                             $      (982.11) $          982.11                   $         8.84 $            982.11   $     185.19   11/1/2024
                                               $        982.11 $         194.03 1 contractual payment                                    $         (982.11)                  $         8.84 $               -     $     185.19                11/1/2024
                                               $        194.03 $          (0.00) To Claimed Escrow Deficit               $        (8.84)                       $    (185.19) $        (0.00) $              -     $        -
  12/26/2024 $      1,070.00 $      1,070.00                   $       1,070.00 to debtor suspense                       $     1,070.00                                      $     1,070.00 $               -     $        -
                                                               $       1,070.00 1 pp payment                             $    (1,070.00) $         1,070.00                  $          -    $         1,070.00   $        -     12/1/2024
                                                                                                                                                                                                                                                                 Page 9 of 10




                                               $      1,070.00 $          (0.00) 1 contractual payment                                   $        (1,070.00)                 $          -    $              -     $        -                  12/1/2024
    1/22/2025 $     1,070.00 $      1,070.00                   $       1,070.00 to debtor suspense                       $     1,070.00                                      $     1,070.00 $               -     $        -
                                                               $       1,070.00 1 pp payment                             $    (1,070.00) $         1,070.00                  $          -    $         1,070.00   $        -      1/1/2025
                                               $      1,070.00 $          (0.00) 1 contractual payment                                   $        (1,070.00)                 $          -    $              -     $        -                   1/1/2025
    2/20/2025 $     1,070.00 $      1,070.00                   $       1,070.00 to debtor suspense                       $     1,070.00                                      $     1,070.00 $               -     $        -
                                                               $       1,070.00 1 pp payment                             $    (1,070.00) $         1,070.00                  $          -    $         1,070.00   $        -      2/1/2025
                                               $      1,070.00 $          (0.00) 1 contractual payment                                   $        (1,070.00)                 $          -    $              -     $        -                   2/1/2025
     3/5/2025 $     1,070.00 $      1,070.00                   $       1,070.00 to debtor suspense                       $     1,070.00                                      $     1,070.00 $               -     $        -
                                                               $       1,070.00 1 pp payment                             $    (1,070.00) $         1,070.00                  $          -    $         1,070.00   $        -      3/1/2025
                                               $      1,070.00 $          (0.00) 1 contractual payment                                   $        (1,070.00)                 $          -    $              -     $        -                   3/1/2025
                                                                                                                                                                                                                                                   Filed 03/19/25 Entered 03/19/25 12:42:11




                                                               $          (0.00)                                                                                             $          -    $              -     $        -
                                                               $          (0.00)                                                                                             $          -    $              -     $        -
                                                               $          (0.00)                                                                                             $          -    $              -     $        -
                                                               $          (0.00)                                                                                             $          -    $              -     $        -
                                                               $          (0.00) MSP suspense                                                                                $          -    $              -     $        -
                                                               $          (0.00) pre petition cured accurately                                                               $          -    $              -     $        -
                                                                                                                                                                                                                                                                       Desc Main
LOAN NUMBER                                                          Last Name                                                              Case Number                                    BK Filed Date
                                                                                   DM HART                                                                20-10955                                           2/17/2020
                                                                                                                                                                                       1st Post Due date    3/1/2020       $924.82
                                                                     POC arrears                              $2,048.49        Paid                                                                         4/1/2021       $931.65
                                                                                                                                                                                                            3/1/2022     $    994.77
                                                                                                                                                                                                            2/1/2023     $ 1,055.53
                                                                                                                                                                                                            1/1/2024     $    982.11
                                                                                                                                                                                                           12/1/2024     $ 1,070.00
                                                                                                                                                                                                                                         Date
                                                                                                                                                                                                                         Date Applied
 Transaction        Amount         Credit to        Debit from        Suspense                                                                                                             PP Payment          Trustee                 Applied to
                                                                                                                                                                                                                                                                Case 20-10955-amc




                                                                                             Transaction Details              Debtor        PP Payment      Trustee   Debtor Balance                                       to Post-
    Date           Received       Suspense          Suspense          Balance                                                                                                               Balance            Balance                Contractuall
                                                                                                                                                                                                                           Petition
                                                                                                                                                                                                                                           y
                                                                 $          (0.00) PPFN not filed                                                                     $          -     $              -    $        -
                                                                                   Please paid down the pending pre
                                                                                                                                                                                                                                                                Doc




                                                                $           (0.00) petition fees                                                                      $          -     $              -    $        -
               $     1,070.00 $      1,070.00                   $        1,070.00 reverse the 3/1/25 payment              $     1,070.00                              $     1,070.00   $              -    $        -
               $     1,070.00 $      1,070.00                   $        2,140.00 reverse the 2/1/25 payment              $     1,070.00                              $     2,140.00   $              -    $        -
                                                $      1,854.46 $          285.54 Escrow deficit                          $    (1,854.46)                             $       285.54   $              -    $        -
                                                                $          285.54                                                                                     $       285.54   $              -    $        -
                                                                $          285.54                                                                                     $       285.54   $              -    $        -
                                                                $          285.54                                                                                     $       285.54   $              -    $        -
                                                                                                                                                                                                                                            Document




                                                                $          285.54                                                                                     $       285.54   $              -    $        -
                                                                $          285.54                                                                                     $       285.54   $              -    $        -
                                                                $          285.54                                                                                     $       285.54   $              -    $        -
                                                                                                                                                                                                                                                         Page 10 of 10
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                                                                                                                                                                                                                                                                Desc Main
